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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
               v.                                 :   Case No. 21-cr-314 (TFH)
                                                  :
SHAWN BRADLEY WITZEMANN,                          :
                                                  :
        Defendant.                                :

                                MOTION TO CONTINUE TRIAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia (Assistant U.S. Attorney Christopher Amore, appearing), hereby submits

the following motion to continue the Bench Trial currently scheduled for July 19, 2022, until a

date to be determined by the Court during the week of July 25-29, 2022. In support of the Motion,

the United States represents:

       1.        The defendant is charged in a four-count Information with the following offenses:

(1) Entering and Remaining in a Restricted Building, in violation of 18 U.S.C. § 1752(a)(1); (2)

Disorderly and Disruptive Conduct in a Restricted Building, in violation of 18 U.S.C. § 1752(a)(2);

(3) Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D); and (4)

Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C. §

5104(e)(2)(G).

       2.        During a status conference with the Court on April 13, 2022, the Court, with input

and consent from the parties, scheduled this matter for trial on July 19, 2022.

       3.        Notwithstanding, the undersigned counsel for the United States respectfully

requests a new trial date due to a conflict with a scheduled work-related in-person training event

from July 18-20, 2022.
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       4.      The undersigned counsel for the United States has conferred with defense counsel,

and the defendant consents to this request. The parties are available to conduct this trial during

the week of July 25-29, 2022.

       5.      The defendant is not in custody.


                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      United States Attorney

                                                       s/ Christopher D. Amore
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